IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WISCONSIN

 

STEPHEN L. GRANT,

Plaintiff,

Vv. Case No.

DOCTOR ("Dr.") RICHARD HEIDORN,
DR. PAUL SUMNICHT,

DR. MARY SAUVEY, and AMERICANS
WITH DISABILITY ACT ("ADA")
COODINATORS MICHELLE HAESE and
CATHERINE FRANCOIS,

Defendants.

 

CIVIL RIGHTS COMPLAINT PURSUANT TO
42 U.S.C. § 1983, TITLE 11 OF THE AMERICANS
WITH DISABILITY ACT, 42 U.S.C. § 12131-12134 AND
§ 504 OF THE REHABILITATION ACT OF 1973, 29 U.S.C. § 794(a)

 

rT. PARTIES

A. Stephen L. Grant ("Plaintiff"), is an inmate at Green Bay
Correctional Institution ("GBCI"), located at 2833 River-
side Drive, P.O: BOx 19033, Green Bay, Wisconsin 54307-

9033.

B. Defendant Richard Heidorn ("Dr. Heidorn"), is a licensed
Physician employed by the Wisconsin Department of Correc-

tions ("WwDOC")/Bureau of Health Services ("BHS"). He was

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the primary healthcare provider for all inmates at GBCI,
between March 2007 and June 2012. Prior to or after June
2012, Dr. Heidorn apparently transferred to another in-

stitution or had semi-retired. He returned to GBCI tem-

porarily in late August or early September 2013. At all

times relevant to himself, Dr. Heidorn was acting under

color of state law. His present employment status and

address is not known to Plaintiff.

Defendant Paul Sumnicht ("Dr. Sumnicht"), is a licensed
Physician employed by the WDOC/BHS. He was the primary
healthcare provider for all inmates at GBCI between June
2012 and September 2013. At all times relevant to himself,
Dr. Sumnicht was acting under color of state law. His

present address is not known to Plaintiff.

Defendant Mary Sauvey ("Dr. Sauvey"), is a licensed Phy-
sician for the WDOC/BHS. She was the primary healthcare
provider for all inmates at GBCI between late September
2013 and May 2016. At all times relevant to herself, Dr.
Sauvey was acting under color of state law. Her present

address is not known to Plaintiff.

Defendant Michelle Haese ("defendant Haese"), was the ADA

Coordinator at GBCI in October 2015. As such, she was

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responsible for determining whether an inmate with a dis-
ability was eligible for reasonable ADA accommodations to
medical equipment/devices such as wheelchair use for dis-
tance. At all times relevant to herself, she was acting
under color of state and federal law, which Plaintiff pre-
Sumes receives federal funding. Her present employment

status and address is not known to Plaintiff.

Defendant Catherine Francois ("defendant Francois"), is
the present ADA Coordinator for GBCI. As such, she is re-
sponsible for determining whether an inmate with a disa-
bility is eligible for reasonable ADA accommodations to
medical equipment such as a specialized (Air, Clinitron,
thicker and firmer or similar) mattress. At all times re-
levant to herself, she was acting under color of state
and federal law which again, Plaintiff presumes receives

federal funding.

All defendants are being sued in their individual capacity.

Il. STATEMENT OF CLAIMS:

A.

IN VIOLATION OF PLAINTIFF'S EIGHTH AMENDMENT RIGHTS,
DEFENDANTS DR. HEIDORN, DR. SUMNICHT AND DR. SAUVEY
INDIVIDUALLY AND SEPARATELY WERE DELIBERATELY INDIF-
FERENT TO PLAINTIFF'S SERIOUS MEDICAL NEED.

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In November 1999, while Plaintiff was confined in Waupun
Correctional Institution (WCI), he began having serious
problems with his left knee. The problems were chronic
and consisted of severe pain, swelling, locking, popping
and buckling that sometimes caused Plaintiff to stumble
and occasionally fall due to his knee giving out. Con-
servative treatments were ineffective and request for
Orthopedic evaluation was denied by the Medical Director

for the BHS.

In March 2007, Plaintiff transferred to GBCI. By 2009,
Plaintiff's chronic knee problems had gotten worse or had
progressed. Plaintiff could no longer squat, kneel, crawl,
run, jump or go up and down more than six stair steps

without excruciating pain.

On June 8, 2009, Plaintiff forwarded an Health Service
Request (HSR) to the Health Service Unit (HSU), request-
ing an Magnetic Resonance Imaging (MRI) examine and/or be
seen by an Orthopedist thereafter. When seen by Dr. Hei-
dorn, he stated verbatim, "Madison (referring to BHS Medi-
cal Director), is not going to pay for an MRI or Orthope-
dic evaluation." Plaintiff then asked Dr. Heidorn, "to
still submit the request so that if it's denied it would

be documented." However, Dr. Heidorn chose not to respond.

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At each subsequent appointment with Dr. Heidorn, Plaintiff
continued to verbally request an MRI or an Orthopedic eval-
uation over the course of his assignment at GBCI. Mean-
while, Dr. Heidorn's treatment of Plaintiff's knee was
limited to Ibuprofen medication, several X-ray scans which
in the medical field is known to reveal less details re-
lating to soft tissue damage; an extra pillow and ice packs
several times a day. As a result, in absence of an MRI or
Orthopedic evaluation, Dr. Heidorn's treatment of Plain-
tiff's knee was totally ineffective, which exacerbated his

knee problems even further.

At some point after February 2012, Dr. Sumnicht became the
primary healthcare provider at GBCI. On July 5, 2012, he
issued an order to continue application of ice packs to

Plaintiff's knee.

On February 11, 2013, Dr. Sumnicht examined Plaintiff's
knee by conducting a rotation test know as the Drawer and
McMurray tests. When Plaintiff yelled out in pain, Dr. Sum-
nicht acknowledged it and pointed to the area around the

knee where swelling was clearly visible.

After the tests, Dr. Sumnicht advised Plaintiff that he
would order an X-ray scan. Hearing this, Plaintiff stated,

"TI don't need another X-ray scan. I need an MRI, so we

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would know what's really wrong with my knee and how to
treat it." Without waiting for a response, Plaintiff ab-
ruptly removed himself from the examination table and

exited Dr. Sumnicht's office.

When Plaintiff returned to the housing unit, he promptly
filed a complaint challenging Dr. Sumnicht's decision to
order an X-ray scan rather than to submit request for an

MRI scan.

On March 12, 2013, Plaintiff reviewed his medical records.
Within the "Progress Notes," Dr. Sumnicht indicated that
the "Drawer and McMurray tests were negative." This nota-
tion baffled Plaintiff because again, Dr. Sumnicht had
previous acknowledged Plaintiff's pain while conducting

one of the tests.

On March 21, 2013, Plaintiff had another appointment with

Dr. Sumnicht. Again, Plaintiff requested that Dr. Sumnicht

submit a request for an MRI scan. Once again, Dr. Sumnicht re-

fused stating, "there is no criteria for an MRI." Despite
Dr. Sumnicht's refusal, Plaintiff continued to request an
MRI and/or Orthopedic evaluation whenever he had an appoint-
with Dr. Sumnicht, during his tenure at GBCI. As a result,
Dr. Sumnicht's treatment of Plaintiff's knee was similar

to Dr. Heidorn's, with the addition of a Ted stocking.

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Totally ineffective which exacerbated the problems with

Plaintiff's knee even further.

In late September or early October 2013, Dr. Sauvey became
the primary healthcare provider at GBCI. Again, at Plain-
tiff's initial appointment with Dr. Sauvey, Plaintiff ver-
bally requested an MRI scan for his knee. Not only did
several more oral request follow, but Plaintiff also sub-
mitted several written HSR dated 7/11/14, 9/18/14, 5/4/15
and 11/12/15 for an MRI scan. A similar request was also

forwarded to Dr. Sauvey by letter dated 1/17/15.

Moreover, HSR dated 5/4/15, is of particular significance !
because aH since an MRI had already been ordered for Plain- |
tiff's lumbar spine, Plaintiff further believed that the |
MRI could scan his knee at the same time. However, respond- :
ing to Plaintiff's request, Dr. Sauvey indicated that an
"MRI on left knee will be reviewed at later date." To

Plaintiff, such response indicated there would be a delay.
Regardless of this response, Plaintiff continued to request

an MRI, at each appointment that followed.

At some point in April 2016, Dr. Sauvey tried an injection
of some steroid or other medication to Plaintiff's knee.
It to was ineffective. Sometime thereafter and without

submitting a request for an MRI scan, Dr. Sauvey transfer-

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red to another institution. Once again, Dr. Sauvey's treat-
ment of Plaintiff's knee was limited to the one steroid
injection, Ibuprofen medication, ice packs and possibly
a knee brace. Again, such treatment was totally ineffec-
tive and further exacerbated the problems Plaintiff con-

tinued to have with his knee.

On August 31, 2016, a new primary healthcare provider (Dr.
Tannen, who is not a defendant in this action,, finally
ordered and/or submitted a request for an MRI scan on

Plaintiff's left knee.

On October 27, 2016, the MRI was conducted and revealed
that Plaintiff had a lateral meniscus tear, severe chron-
dromalacia in the lateral and patellofemoral compartments,
and a small joint effusion. These diseases/problems were

not revealed by X-ray scans dated 2-14-13 and 6-2-16.

As a result of finally having a definitive diagnosis of
what was causing Plaintiff's knee problems for more than
fifteen years, Plaintiff had total knee replacement sur-

gery on August 30, 2017.

Consequently, in violation of Plaintiff's Eighth Amendment
rights, Dfendants Dr. Heidorn, Dr. Sumnicht and Dr. Sauvey

were deliberately indifferent to Plaintiff's serious medi-

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cal need, when they each individually and separately refu=
sed to order or submit request for Orthopedic evaluation
or an MRI scan for Plaintiff's left knee, which further
exacerbated the problems and prolonged for years the un-
necessary and wanton infliction of pain, in violation of

Plaintiff's eighth Amendment rights.

PLAINTIFF WAS DENIED WHEELCHAIR ACCOMMODATIONS FOR DISTANCE
IN VIOLATION OF TITLE 11 OF THE ADA, § 504 OF THE REHABILI-
TATION ACT AND PLAINTIFF'S EIGHTH AMENDMENT RIGHTS.

On October 15, 2015, defendant Haese who was the ADA Coor-
dinator for GBCI, denied Plaintiff's request for reason-
able wheelchair accommodations after consulting with an
un-named HSU staff member who deemed the accommodation as

medically unnecessary.

Plaintiff requested wheelchair accommodation because in ad-
dition to his left knee problems, Plaintiff also suffered
from chronic and excruciating pain in hislower lumbar spine.
This pain travels down Plaintiff's buttocks, hips, legs and
the bottom of his feet. In combination, both serious medi-
cal problems made it very difficult for Plaintiff to stand
stationary for longer than two - four minutes and/or walk
no further than fifty feet without needing to sit down be-

cause of the pain.

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These are major life activities that are substantially lim-
ited. Moreover, Plaintiff's pain was not:as worse when he
initially requested wheelchair access which Dr. Sauvey ap-
proved February 27, 2015, without restrictions. However,
wheelchair use was discontinued on April 7, 2015, by a
nurse who relied upon false information that a correctional

officer documented in an incident report.

On or about April 28, 2015, Dr. Sauvey re-issued her order
for Plaintiff's continued use of the wheelchair with re-

strictions, which required that Plaintiff walk behind the
wheelchair then sit for five minutes then continue to walk
to his destination. However, Plaintiff could not continue
to comply with such restrictions because it was exacerba-

ting the pain and other problems in Plaintiff's knee and

lower lumbar spine, Hence, Plaintiff's failure to continue
complying with wheelchair restriction is why HSU staff and
defendant Haese, deemed wheelchair accommodation not medi-

cally necessary.

In addition, off-site medical clinic known as Advance Pain
Management (APM)/Pain Centers of Wisconsin, has diagnosed
Plaintiff for degenerative disc disease, lumbar stenosis,
sciatica, diffuse disc disease, and several other diseases/

conditions requiring treatment. Furthermore, APM has con-

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cluded that Plaintiff is functionally impaired as measured
by Oswestry disability index. Defendant Haese, could and
should have but chose not to review on her own Plaintiff's
medical records, nor question why HSU staff omitted the

above verifying information from their consultation.

Consequently, denial of reasonable ADA accommodation vio-
lated Title 11 of the ADA, § 504 of the Rehabilitation Act

and Plaintiff's Eighth Amendment rights.

PLAINTIFF WAS DENIED ADA ACCOMMODATION FOR A SPECIALIZED
MATTRESS IN VIOLATION OF TITLE 11 OF THE ADA, § 504 OF THE
REHABILITATION ACT AND PLAINTIFF'S EIGHTH AMENDMENT RIGHTS.

On July 28, 2017, defendant Francois, denied Plaintiff's
request for a specialized ("Air") mattress. Plaintiff sought
such accommodation because the regular navy blue and gray
mattresses as provided by WDOC, were exacerbating the pro-
blems Plaintiff was and continues to have with his lower
lumbar spine. Such mattress was substantially limiting
Plaintiff's ability to sleep, which is a major life acti-

vity,

Plaintiff cannot sleep on his back due to the problems pre-
viously described. Plaintiff must therefore try to sleep

while laying on his sides. Doing so exacerbates Plaintiff's

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sciatica pain, which forces plaintiff to sleep in five to
ten minutes stages for a maximum total of two hours or less

of sleep per night.

Consequently, denial of reasonable ADA accommodation for a
Specialized mattress violated title 11 of the ADA, § 504
of the Rehabilitation Act and Plaintiff's Eighth Amendment

rights.

JURISDICTIONAL STATEMENT

I am suing for a violation of federal law under 28 U.S.C.

§ 1331-1343(a)(3)-(4).

VENUE STATEMENT

This action is properly venue in the Eastern District pur-

suant to 28 U.S.C. § 1391(b)(2), as defendants are employees

for the WDOC/BHS and were at all times relevant, assigned

to GBCI located in Green Bay, Wisconsin.

JURY DEMAND

Plaintiff demands a jury trial of no less than six citizens

to have this matter determined.

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EXHAUSTION OF ADMINISTRATIVE REMEDY

Plaintiff has exhausted all available administrative re-
medies relative to defendants Heidorn, Sumnicht and
Sauvey via complaints GBCI-2013-2973, GBCI-2016,25575
and GBCI-2016-26238; relative to defendants Haese, via
complaint GBCI-2015-20543 and defendant Francois, via

complaint GBCI-2017-20387 respectively.
RRELIEF WANTED

Plaintiff request Nominal Damages from each defendant and
Punitive Damages of $30,000 from Drs. Heidorn, Sumnicht
and Sauvey. And $3,000 each from defendants Haese and

Francois, all individually and severally.
CONCLUSION

Pursuant to 28 U.S.C. § 1746, I declare under penalty of
perjury that the foregoing is true and correct to the best

of my knowledge and recollection.

Dated this 10th day of November, 2017.

Respectfully submitted,

Stephen L. Grant #75160
Plaintiff, pro se
Green Bay Correctional Institution

P.O. Box 19033

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